246 F.2d 709
    Cornell Joel GROSSMAN, D.D.S., Petitioner,v.UNITED STATES of America, United States Atomic Energy Commission, Respondents.
    No. 12959.
    United States Court of Appeals District of Columbia Circuit.
    Argued June 5, 1957.
    Decided June 13, 1957.
    
      Cornell Joel Grossman, petitioner pro se.
      Mr. William W. Fleming, Atty., Dept. of Justice, with whom Asst. Atty. Gen. George C. Doub, Messrs. Oliver Gasch, U. S. Atty., and Melvin Richter, Atty., Dept. of Justice, were on the brief, for respondents.
      Before EDGERTON, Chief Judge, and WILBUR K. MILLER and DANAHER, Circuit Judges.
      PER CURIAM.
    
    
      1
      Petitioner, as his brief tells us, "prays that this court remand the appellant's request for compensation, and recognition, to the United States Atomic Energy Commission, as the inventor who first gave the atomic hydrogen bomb formulas to the United States of America." By our order of February 10, 1956, we remanded the case to the Commission that the petitioner might there seek the administrative relief to which he believes himself entitled. A hearing was accordingly held by the Commission's Patent Compensation Board where petitioner was afforded an opportunity once again to present his claim in full and to submit his evidence. We are not shown that the Board erred. Its determination that the petitioner has no valid claim under the Atomic Energy Acts1 is affirmed.
    
    
      
        Notes:
      
      
        1
         Sec. 11(e), Atomic Energy Act of 1946, 60 Stat. 755, 769, 42 U.S.C.A. § 1811(e); Sec. 157 and Sec. 189, Atomic Energy Act of 1954, 68 Stat. 919, 947, 955, 42 U.S.C.A. §§ 2187, 2239
      
    
    